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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 C.M., et al.,                                                :
                                              Plaintiffs, :
                                                              :   20 Civ. 6328 (LGS)
                            -against-                         :
                                                              :        ORDER
 NEW YORK CITY DEPARTMENT OF                                  :
 EDUCATION, et al.,                                           :
                                              Defendants. X
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS, Plaintiffs have filed a Complaint alleging, inter alia, violations of the

Individuals with Disabilities Education Improvement Act;

        WHEREAS, Defendants have filed their Answer; it is hereby

        ORDERED that, by October 27, 2020, the parties shall file a joint proposed briefing

schedule.


Dated: October 20, 2020
       New York, New York
